Exhibit D

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State of North Carolina
Department of Environment, Health, and Natural Resources
Winston-Salem Regional Office

James G. Martin, Governor Margaret Plemmons Foster
William W. Cobey, Jr., Secretary Regional Manager

DIVISION OF ENVIRONMENTAL MANAGEMENT
GROUNDWATER SECTION

NOTICE OF VIOLATION OF N.C.A.C, TITLE 15A- SUBCHAPTER 21,
CLASSIFICATIONS AND WATER OUALTTY STANDARDS
APPLICABLE TO THE GROUNDWATERS OF NORTH CAROLINA

April 16, 1992

CERTIFIED MAIL NUMBER P-536 304 013
RETURN RECEIPT REQUESTED

Mr. L. W. Pritchett, Jr.
Mr. Eulie Faircloth
1549 West Webb Avenue
Burlington, NC 27215

Subject: FAIRCLOTH STORE
Highway 49, Burlington, NC

Dear Messrs. Pritchett and Faircloth:

Chapter 143, North Carolina General Statues, authorizes and
directs the Environmental Management Commission of the Department
of Environment, Health, and Natural Resources to protect and
preserve the water and air resources of the State. The Division
of Environmental Management has the delegated authority to
enforce adopted pollution control rules and regulations.

The purpose of N.C.A.C. Title 15A Subchapter 2L is to maintain
and preserve the quality of the groundwaters, prevent and abate
pollution and contamination of the waters of the State, protect
public health, and permit management of the groundwaters for
their best usage by the citizens of North Carolina.

On March 31, 1992 the Winston-Salem Regional Office received a
"Report of Preliminary Groundwater Investigation" describing
groundwater conditions at the Faircloth Grocery site in Alamance
County. This report indicates that groundwater at the site is
contaminated with benzene and methyl~tertiary-butyl-ether

(MTBE) as follows:

    

 

8025 North Point Boulevard, Suite 100, Winston-Salem, NC. 27106-3203 © Telephone REAGEBTHOOK @19) 896-7007= 8S
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Benzene 300 ppb

MTBE 7200 ppb

concentrations for such substances as specified in N.C.A.c., Title
15A 2L .0202. Therefore, they are in violation of the water

N.C.A.C. Title 15a 2L .0106 Corrective Action

(a) The goal of actions taken to restore
groundwater quality shall be restoration
to the level of the standards, or as
Close thereto as is economically and.
technologically feasible.

(b) Any person conducting or controlling
an activity which results in the
discharge of a waste or hazardous
Substance or oil to the groundwaters of
the state or in proximity thereto, shall
take immediate action to terminate and
control the discharge, mitigate any hazards

(c) Any person conducting or controlling an

groundwater standard:

(1) as the result of activities, other than
agricultural Operations, not permitted by
the state, shall assess the Cause,
Significance and extent of the violation;
submit a plan for eliminating the source
of contamination and for restoration of
groundwater quality; and implement the

 

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You are required to submit a Comprehensive Site Assessment which
describes the full vertical and horizontal extent of the
contamination. The requirements of this report may be fulfilled
if reports are submitted under specifications of the Federal
Underground Storage Tank Rules 40 CFR 280.62, 280.63, 280.64 and
280.65. An adequate report must be received by this office on or
before June 30, 1992.

A corrective action plan (remedial action plan) should be
submitted to this office within sixty (60) days after submitting
the comprehensive site assessment report.

It is requested that within fifteen (15) days, you submit a
written response describing your plans to achieve compliance.
Should you dispute our assessment of responsibility, please
include documentation of your position in your response.

Failure to submit the report required or failure to: expeditiously
eliminate the contaminate source and restore groundwater quality
in the affected area may result in the recommendation of
enforcement action including: (1) the issuance of a special
order against you under the authority of G.S. 143-215.2, (2) a
request to the Attorney General to institute an action for
injunctive relief, (3) a civil penalty of up to $10,000 per day
in accordance with G.S. 143-215.6 and (4) referral of your site
to the Federal Trust Fund Group. Please note that should the
Federal Trust Fund take charge of your Site, they will seek cost
recovery, from responsible parties, for any and all expenses
incurred.

Please do not hesitate to contact Waddell Watters or Sherri
Knight regarding any questions you may have about this matter.

Sincerely,

Jarny DO. Cth

Larry D. Coble
Regional Supervisor

LDC/SW/ahl

Enclosure

cc: Office of General Counsel

Incident Management Unit
WSRO Files

County Health Department

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